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                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          4:16-CR-40067-KES

                  Plaintiff,

                                           REPORT AND RECOMMENDATION
      vs.
                                             [DEFENDANTS’ MOTIONS TO
RODNEY ALAN TITUS and                      SUPPRESS, DOCKET NOS. 74 & 76]
JAMES WAYNE TIPTON,

                  Defendants.



      Defendants Rodney Alan Titus and James Wayne Tipton are before the

court on an indictment charging them with being felons in possession of a

firearm. See Doc. 1. Both defendants have filed motions to suppress certain

evidence. See Docket Nos. 74 & 76. The United States (“government”) resists

the motion. See Docket No. 81. This matter has been referred to this

magistrate judge for holding an evidentiary hearing and recommending a

disposition pursuant to 28 U.S.C. § 636(b)(1)(B) and the October 16, 2014,

standing order of the Honorable Karen E. Schreier, district judge.

                                    FACTS

      An evidentiary hearing was held on Wednesday, April 19, 2017.

Mr. Titus was there in person along with his lawyer, Assistant Federal Public

Defender Jason Tupman. Mr. Tipton was there in person along with his lawyer,
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Joshua Zellmer. The government was represented by its Assistant United

States Attorney, Connie Larson. Four witnesses testified and eight exhibits

were received into evidence. From this testimony and these exhibits, the court

makes the following findings of fact.

      On April 14, 2016, several members of the Mitchell Police Department

became involved in an investigation of indecent exposure on the campus of

Dakota Wesleyan University (“DWU”) in Mitchell, South Dakota. A young

woman in the DWU library had been approached by a man who exposed his

genitals to her (“the flasher.”) The young woman described the man as being a

white male, approximately 25-30 years old, having short brown hair, wearing a

dark t-shirt, and dark colored flannel pants. The call regarding the indecent

exposure in the DWU library came in to the Mitchell Police Department at

approximately 10:49 a.m. See EX A.1

      Earlier in the day, another person had been spotted on campus by DWU

employees, whom the employees deemed suspicious (the “suspicious person”).

The suspicious person had not done anything illegal. The suspicious person

was a white male and was six feet tall, with short or “buzzed” hair.2 He was


1 EX A is a copy of a portion of the Mitchell Police Department dispatch report
for April 14, 2016. The first page contains a key indicating which officers were
assigned which call numbers for that date, to assist the reader in determining
which officers were at which locations at which times. The dispatch report is
recorded in military time. For the convenience of the reader, the times have
been converted to regular time in this opinion.

2It was not completely clear who reported the height of the suspicious person
but Det. Arnold explained that this detail emerged and was reported to him
when he arrived on campus at DWU. Detective Larson recalled that the
suspicious person was also described as having short, “buzzed” hair.
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deemed suspicious by campus personnel because he was a person unfamiliar

to campus3 and he was wearing a black bandana over his face. The victim of

the indecent exposure incident did not see a black bandana, and it was never

determined whether the man wearing the black bandana over his face on

campus earlier in the morning (the suspicious person) was the same person

who exposed himself in the library (the flasher). Nevertheless, the Mitchell

police included in their description of the flasher the possibility that the man

who exposed himself in the library may be wearing or in possession of a black

bandana.

      It is fair to say that as the investigation progressed, the description of the

suspicious person spotted earlier in the morning on the DWU campus and the

description of the library flasher became combined into one blended

description. Officer Kelly Loudenburg explained he met with the DWU

president. She told Officer Loudenburg about the suspicious person who had

been seen on campus earlier in the morning, before the flasher incident.

Officer Loudenburg got the description of the suspicious person from the DWU

president; then he met with the flasher victim and got the description of the

flasher. Officer Loudenburg unequivocally testified that he gave both

descriptions to the other Mitchell Police Department officers and both


3 DWU is a small, private, religiously affiliated college. Its total student
population is approximately 1,000 students, with only 378 men. See
https://www.dwu.edu/assets/uploads/general/2016-17_DWU_Fact_Sheet.pdf
It is not surprising, then, that both the flasher and the suspicious person were
recognized and described by witnesses as someone who “did not belong” or
“was not from” campus. See EX A, p. 2; Transcript, p. 150.


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descriptions were broadcast out over the police radio, because nobody was sure

if the two incidents were related. See transcript at pp. 150-51.

      Detective Peter Arnold, along with Detectives Daniel Fechner and

Brian Larson arrived on the DWU campus. Other Mitchell Police Department

officers were also on scene, including Patrol Officer Loudenburg. The officers

obtained the description of the suspect.4 They searched the campus for anyone

matching the description. After a little over an hour on campus, Detectives

Arnold, Fechner and Larson had not found anyone who matched the

description of the flasher. They received a report of someone matching the

description of the flasher, and who was wearing a black bandana, walking

down Havens Avenue (which is near the DWU campus), westbound.5 They

decided to expand their search by looking for the suspect in and around the

businesses located on West Havens Avenue. The officers were unsuccessful

finding anyone at Stepping Stones, a drug treatment center. Next, they decided

to canvass the motels on West Havens Avenue.

      The officers stopped at the office of the Siesta Motel and spoke with the

owner/manager. The officers described the DWU flasher, but the manager said

4 As described above, included in the description of the suspect for whom the
Mitchell police were to be on the lookout for were the characteristics of the
suspicious person who had been spotted on campus earlier in the morning,
even though the flasher victim never saw a black bandana and even though it
was never determined whether the suspicious person and the flasher were one-
in-the-same.

5This detail was mentioned in Detective Arnold’s report, a portion of which was
produced to the court before the evidentiary hearing. See Docket 75-5, p. 1.
During the evidentiary hearing, Detective Arnold mentioned an individual
matching the suspect’s description was seen walking down West Havens Street,
but he did not specifically mention the black bandana.
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he had not seen anyone matching that description. The Siesta manager told

the officers, however, that two men who were acting suspicious had checked

into room 15 of the motel just a few minutes earlier. The manager indicated

the person who rented the room was James Tipton, but he did not believe

either of the two men was in the room at the moment. The officers verified the

manager’s belief by driving past room 15. They observed one vehicle parked in

front of the room, but they did not stop or approach the room. The officers left

the Siesta for a few moments to continue their canvass of the area for the DWU

flasher suspect.

      Even though the Siesta manager said he had not seen anyone matching

the DWU flasher’s description, Detective Arnold’s interest was piqued by the

manager’s comments about the two men in room 15. First, the manager said

the men were acting suspicious, and second, Detective Arnold was then

investigating a fraud case in which the victim’s name was James Tipton and

the perpetrator (Josh Tipton—James’s son) had assumed his father’s identity,

cashed checks stolen from his father, and had been spending the cash

proceeds. The James Tipton who had checked into the Siesta paid in cash.

Detective Arnold believed, therefore, that the James Tipton in room 15 might in

reality be Joshua Tipton posing as his father, James Tipton. For these reasons

in addition to the flasher investigation, Detective Arnold wanted to return to

the Siesta to check out the two men in room 15.

      The officers left the Siesta and drove around the area for a few moments.

They circled back around the block and noticed a second vehicle had parked in


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front of room 15 at the Siesta, so they stopped to investigate. The police

dispatch log indicates the detectives returned to the Siesta at 12:38 p.m. See

EX A. The officers ran the license plates on both vehicles parked in front of

room 15. Both vehicles were registered to Rodney Titus. Both vehicles were

full of what appeared to be household items. See EX B (photos of vehicles).

Mr. Tipton would later explain that although both vehicles were registered to

Mr. Titus, he (Tipton) was in the process of purchasing the Mercury

Mountaineer from Mr. Titus. The men would also later explain the vehicles

were full of household items because they were in the process of moving

Mr. Tipton from a different motel in Mitchell to the Siesta. Mr. Titus was in the

process of moving from a home in Huron, South Dakota, to an unknown

location in Mitchell.

      Det. Arnold and Det. Larson approached the door, which is pictured on

EX 5. There is a large window to the right of the door to room 15. Id. The

door was closed but the blinds/shades that covered the large window to room

15 were slightly open. Id. Det. Arnold knocked on the door while Det. Larson

peeked through the slightly opened window shades. Det. Larson could see two

people in the room and a black bandana on one of the beds. When Det. Arnold

knocked on the door, the person toward the back of the room (who was wearing

a green shirt) picked up something black and headed for the bathroom out of

sight. The person toward the front of the room hesitated before answering.

Det. Larson estimated there was about a minute delay before the person at the

front of the room opened the door. Though he would later write in his report


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that the person toward the back of the room “carried something into the

bathroom,” the comment Det. Larson made to Det. Arnold contemporaneously

was, “they’re hiding something.”6 Det. Arnold explained Det. Larson had to

hold his badge up to the window before the person at the front of the room

finally opened the door.

      The person at the front of the room (later determined to be Mr. Tipton)

opened the door. Det. Arnold, suspecting the person might be his fraud

suspect, asked if Joshua Tipton was in the room. Mr. Tipton insisted he was

James Tipton, not Joshua Tipton, and produced an identification card to prove

his identity as James Tipton. Det. Arnold and Det. Larson asked if anyone else

was in the room, and Mr. Tipton denied the presence of anyone else.7

Det. Larson confronted Mr. Tipton about this deception, because Det. Larson

had seen another person in the room as he peered in through the open blinds.

      Only after having been confronted about his deception did Mr. Tipton

admit there was another person in room 15. Mr. Tipton said his cousin,

Rodney Titus, was in the bathroom, and called for Mr. Titus to come out. At

this point, Det. Arnold asked Mr. Tipton if he could enter the room, to which

Mr. Tipton agreed. Det. Arnold entered the motel room, either to call Mr. Titus


6 During the evidentiary hearing, Det. Larson first testified he told Det. Arnold
“he’s hiding something,” but on cross-examination testified he told Det. Arnold
“they’re hiding something.” The detectives testified that they wrote their
reports a day after the encounter at the Siesta Motel (in other words, a day
after the search warrant affidavit was written and the warrant was executed).

7At the evidentiary hearing, Det. Arnold did not recall this denial, but
Det. Larson did.


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out of the bathroom or to conduct a safety sweep or both. When the motel door

was opened, two black bandanas could be seen in plain sight lying on one of

the beds. The officers brought both Mr. Tipton and Mr. Titus outside the motel

room, onto the sidewalk in front of the room. Mr. Tipton was wearing jeans and

a black t-shirt with a large, white print of a woman’s face on the front.

Mr. Titus was wearing long, baggy shorts and a green t-shirt. See EX B

(photos).8

      The officers told Mr. Tipton and Mr. Titus the purpose(s) for their visit at

the Siesta. When the officers told the men about the flasher incident at the

DWU library and described the suspect, Mr. Titus laughingly agreed that

Mr. Tipton matched the description of the flasher. Throughout his interaction

with Mr. Tipton, Det. Arnold and Det. Fechner observed that Mr. Tipton was

very animated and seemed overly nervous.

      Detective Fechner is certified as a drug recognition expert, but he did not

conduct any drug recognition examinations or field sobriety tests on either

Mr. Tipton or Mr. Titus while at the Siesta motel on April 14, 2016.

Det. Fechner described Mr. Tipton’s emotions as ranging from argumentative to

calm to irate and then back to calm again within a very short amount of time.

Both Det. Arnold and Det. Fechner explained that in their professional

experience, they believed Mr. Tipton was displaying signs of being under the

influence of narcotics.


8The defendants offered EX B into evidence, which is a CD containing a several
photos and some video evidence. During the hearing, the defendants withdrew
their offer of only that portion of EX B which contains the surveillance videos.
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      After visiting with Mr. Tipton and having reviewed the identification he

produced at the door of the motel, Det. Arnold ruled out Mr. Tipton as the

suspect he sought in his fraud case within the first fifteen minutes of their visit

at the Siesta motel.

      Det. Arnold noticed Mr. Titus was wearing an ankle monitor. From this,

the officers deduced Mr. Titus was on some sort of supervised probation or

parole, so Det. Arnold asked both men about their criminal histories. Both

reported past felony convictions and narcotics arrests. Based upon the totality

of the observations the officers made since their arrival at the motel (Mr. Titus

trying to hide something in the bathroom, Mr. Tipton denying Mr. Titus’s

presence in the room, Mr. Tipton’s behavior, both men having admitted past

felony convictions and drug arrests), Det. Arnold summoned the assistance of a

South Dakota Highway Patrol officer and his drug-sniffing dog. The police

dispatch log which was received into evidence at the evidentiary hearing (EX A)

shows that the officers returned to the Siesta at 12:38 p.m. and the SDHP was

summoned at 1:24 p.m. See EX A. The drug-sniffing dog arrived at 1:27 p.m.

and alerted to the presence of drugs on the Mercury Mountaineer. By 1:50

p.m., Det. Arnold called dispatch to request a unit to “sit on the room while I

obtain a search warrant.” Id.

      At approximately 12:50 p.m. the dispatch log shows that Det. Fechner

called for a transport unit to be sent to the Siesta. Id. Det. Fechner explained

at the evidentiary hearing, however, that this was probably the time he called

for another unit to be sent to the motel because he needed to leave to retrieve


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and then deliver supplies. Specifically, Det. Fechner had been instructed to

retrieve a thumb drive from the police department and deliver it to Officer

Loudenburg who remained at the DWU campus, and to pick up consent-to-

search supplies for the officers who remained at the Siesta Motel. Det. Fechner

left the Siesta at 1:07 and picked up the thumb drive at the police department

at 1:10 (See EX A), then traveled to the DWU campus where Officer

Loudenburg had been working with the IT Department to retrieve video footage

from the DWU library.

      Officer Loudenburg, along with DWU staff, had retrieved video footage

from earlier in the day at the DWU library of a person they believed might be

the DWU flasher. They contacted the victim to have her review the footage.

The victim confirmed that the person in the footage was in fact the DWU

flasher.

      Officer Loudenburg was in a different part of the campus interviewing

witnesses when Officer Fechner arrived to deliver the thumb drive. Officer

Fechner confirmed with the campus IT person, however, that the victim had

positively identified the person on the video footage as the DWU flasher. Officer

Fechner took a photo of the flasher with his cell phone from the video as it

appeared on the IT person’s computer screen at DWU. Det. Fechner left the

thumb drive for Officer Loudenburg, and returned to the Siesta Motel to show

the cell phone photo to Det. Arnold. See EX 6.9



9Det. Arnold could not unequivocally state that any one of the photos from EX
6 was the one he viewed on April 14, 2016. He believed the photos contained
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      Based on his review of the video and the still photo taken from the video,

Det. Fechner did not believe Mr. Tipton was the DWU flasher. Once the victim

confirmed the person on the video footage was the DWU flasher and Officer

Loudenburg had received the thumb drive, Officer Loudenburg copied the video

footage onto the thumb drive and delivered the thumb drive to the Mitchell

Police Department. Officer Loudenburg estimates he placed the thumb drive

with the video footage in the evidence locker at the Mitchell Police Department

at approximately 1:54 p.m. on April 14, 2016. See EX A.

      By the time Det. Fechner returned to the Siesta Motel (about 1:46 p.m.—

See EX A) to show Det. Arnold the cell phone photos of the flasher captured

from the DWU library surveillance video, the SDHP trooper had arrived with his

drug dog and the dog had positively alerted on the Mercury Mountaineer. In

Detective Fechner’s mind, the focus of investigation at the Siesta Motel had

shifted from the DWU flasher and/or Det. Arnold’s fraud investigation to a drug

investigation. Det. Fechner testified that he showed the cell phone photos of

the DWU flasher to Det. Arnold, but upon his return to the Siesta Det. Fechner

did not have an in-depth discussion with Det. Arnold about whether Mr. Tipton

might be the DWU flasher because by then, the focus of the investigation at the

Siesta had shifted to a narcotics investigation.

      By 1:50 p.m., Det. Arnold had decided to apply for a warrant to search

room 15 at the Siesta Motel. See EX A. At 1:51 p.m., Detectives Arnold and

Fechner transported Mr. Titus back to the Mitchell Police station, and another

in EX 6, however, to be representative of the image and quality of the photo he
did view from Det. Fechner’s phone on April 14, 2016.
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officer transported Mr. Tipton. Id. Det. Arnold arrived at the police station at

1:55 p.m. Id. At 2:10 p.m., Det. Arnold requested a “Triple I” (criminal history)

for both Mr. Tipton and Mr. Titus for purposes of drafting his search warrant

affidavit.

       Though it was in the evidence locker by then and he could have accessed

it if he had known it was there to access, Det. Arnold did not review the video

from the DWU library before he submitted his search warrant affidavit to the

state court magistrate judge. Det. Arnold was of the opinion that based on the

photo he had reviewed on Det. Fechner’s phone, Mr. Tipton could be neither

identified as nor ruled out as the DWU flasher. Det. Arnold later believed he

had persuaded Det. Fechner as such, but Det. Fechner unequivocally testified

that after reviewing the library surveillance video, he persisted in his belief that

Mr. Tipton was not the DWU flasher. Neither detective recalled specifically

discussing the subject, however, until after Det. Arnold had submitted his

search warrant affidavit to the state magistrate judge.

       The search warrant affidavit requested permission to search both

vehicles registered to Mr. Titus and room 15 at the Siesta Motel for evidence

pertaining to (1) the DWU flasher and (2) narcotics. See EX 1. The affidavit

also sought permission to obtain urine samples from both Mr. Tipton and

Mr. Titus, to test for evidence of illegal drugs. Id. Det. Arnold estimated the

state magistrate judge reviewed the affidavit and signed the warrant between

4:00 and 5:00 p.m. The warrant was executed on the motel room at

5:25 p.m., but the vehicles were not searched until the next day.


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      The execution of the search warrant resulted in the discovery of a black

backpack in the bathroom of room 15 at the Siesta Motel. The backpack

contained a firearm which is the subject of this prosecution. The search of the

Mercury Mountaineer resulted in the discovery of drug paraphernalia. Both

Mr. Titus and Mr. Tipton’s urinalysis tests were positive for methamphetamine.

                                  DISCUSSION

A.    Whether the State Court Search Warrant was Invalid?

      Mr. Titus and Mr. Tipton assert that the search warrant was invalid

because Det. Arnold included false information and omitted several crucial

facts from his search warrant affidavit. Had the false facts been excluded and

the necessary crucial facts been included, Mr. Titus and Mr. Tipton argue, the

affidavit would not have demonstrated probable cause to support the issuance

of a warrant.

      1.    Preliminary Showing for a Franks Hearing

      A defendant may challenge an affidavit supporting a search warrant on

grounds that the affiant deliberately or recklessly included false information.

Franks v. Delaware, 438 U.S. 154, 155-56 (1978). A defendant may also

challenge the deliberate or reckless omission of material information from a

search warrant affidavit. United States v. Buchanan, 574 F.3d 554, 563 (8th

Cir. 2009). As a preliminary matter, a defendant is only entitled to a Franks

hearing if he makes a substantial showing that an affiant to a search warrant

application knowingly or intentionally, or with reckless disregard for the truth,

made false statements or omitted material facts and that the alleged


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statements were necessary to a finding of probable cause. Franks, 438 U.S. at

155-56. "Whether [the defendant] will prevail at that hearing is, of course,

another issue." Id. at 172.

      The court previously found (and so notified the parties pre-hearing) that

defendants were entitled to a Franks hearing. Mr. Titus and Mr. Tipton made a

specific, detailed showing of the facts they claimed were either made with a

reckless disregard for the truth or which were omitted from Det. Arnold’s

search warrant affidavit. The statements contained within the affidavit, made

by Det. Arnold, which Mr. Titus and Mr. Tipton claim were made with a

reckless disregard for the truth are:

           I was informed by INV JACKSON that the suspect was described to
             us as a white male, approximately 6’ tall with short, brown hair,
             wearing plaid pants and a black shirt and possibly having and
             wearing a black bandana.
           Inv. Larson, Inv. Fechner and I then left the University to search
             the immediate area for anyone matching the description of the
             suspect. At approximately 1230 hours I stopped at the Siesta
             Motel located at 1210 W. Havens and made contact with the
             manager. The manager advised me that he had two males
             recently rent room number fifteen (15). The manager stated that
             the males had acted strangely while renting the room.
           Inv. Larson looked through the front window of room 15 and stated
             there were two males inside that appeared to be hiding things.
           The male also matched the description of the male that had
             showed his genitalia to the female victim at Dakota Wesleyan
             University as he was a white male six feet tall with a black shirt
             and short brown hair.
           I remembered from initial description of the male suspect involved
             in the exposure incident at Dakota Wesleyan University that it has
             been reported that he had a black bandana.
           Titus agreed that Tipton matched the description of the male
             suspect in the above case.
           Due to my suspicion that Tipton may be under the influence of
             narcotics, the fact that Titus and Tipton took so long to open the
             door, and Inv. Larson had seen Tipton hiding items, Titus being in

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               the bathroom and a backpack being hidden behind the toilet I
               called dispatch and asked if they could have Trooper Lord who is a
               K-9 handler come to my location to perform an open air sniff on
               the Titus vehicle for narcotics.
             I then received a photo of the suspect involved in the illegal
               exposure of his genital at Dakota Wesleyan University. The photo
               was grainy and taken from a distance, but the suspect in the
               photo did resemble Tipton. The male suspect in the photo from
               Dakota Wesleyan was a white male with short brown hair wearing
               a black shirt with print on the front of it and bluish purple pants.
               When I made contact with Tipton he was wearing a black tee shirt
               with print on the front blue jeans and tennis shoes. Tipton is six
               feet tall and has short brown hair. Tipton did match the photo
               that was taken of the suspect at Dakota Wesleyan University but
               the photo was too grainy to make a positive identification.
             Therefore I ask for a search warrant authorize a search . . . for any
               . . . clothing consistent with what the suspect was wearing that
               had exposed his genitals to the female student at Dakota
               Wesleyan University to include black shirts, black bandanas, blue
               or purple pants.
             I asked Titus what he was on Federal probation for and he stated
               that he was on federal probation for distribution of narcotics.
             I had dispatch perform a criminal background check on both Titus
               and Tipton. Both Titus and Tipton have multiple drug related
               arrests consisting of drug paraphernalia and distribution of
               methamphetamine on their criminal background checks.

       Mr. Titus and Mr. Tipton also assert Det. Arnold omitted critical facts

from the affidavit. Specifically, they assert Det. Arnold should have included in

the affidavit:

      The short period of time Mr. Tipton had been in room 15 at the Siesta
       motel;
      The slightly longer, but still short amount of time Mr. Titus had been in
       room 15 at the Siesta motel;
      The details the two men had provided about their whereabouts that day;
       and
      The corroborative condition of the two vehicles parked in front of room
       15, and of room 15 itself.

Based on this showing, the court allowed evidence at the hearing concerning

these claimed falsehoods and omissions.

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      2.     Merits of the Franks Issue

             a.    Only One of The Misstatements or Omissions Was
                   Intentional or Reckless

      To prevail on a Franks challenge, the court first determines whether the

affiant officer intentionally or recklessly made false or misleading

misstatements or omissions in support of the warrant. United States v.

Martinez-Garcia, 397 F.3d 1205, 1215 (9th Cir. 2005) (quoting Franks, 438

U.S. at 155-56). If it finds by a preponderance that the information was

deliberately or recklessly stated or omitted, the court must then inquire

whether the excision of the false information or addition of the omitted material

renders the affidavit "insufficient to establish probable cause.” Franks, 438

U.S. at 156. Because a search warrant affidavit is presumed valid, see Franks,

438 U.S. at 171, the burden of proof rests on the defendant, and the

government has no burden to rebut the defendant’s allegations or to otherwise

move forward with the evidence.

      In making this determination, the Eighth Circuit has instructed that

“[o]ur touchstone is ‘probability’ not ‘certainty’ and one-hundred percent

reliability . . . [is] not crucial to the issuance of the warrant.” United States v.

Reivich, 793 F.2d 957, 963 (8th Cir. 1986). At issue in Reivich was whether

the affiant officer committed a Franks violation when he failed to include in his

warrant affidavit the fact that his drug informants had been offered leniency

regarding their own pending charges. Id. at 958. The district court found a

Franks violation but the Eighth Circuit reversed, noting that even if the

affidavit was corrected to include the information, it would have supported a
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finding of probable cause. Id. at 962-63. “After all, we expect . . . judicial

officers to be only neutral and detached—not naïve and ingenuous.” Id. at 963.

      To prove reckless disregard for the truth, the defendant must prove that

the affiant “in fact entertained serious doubts as to the truth of the affidavits or

had obvious reasons to doubt the accuracy of the information therein.” United

States v. Clapp, 46 F.3d 795, 801 (8th Cir. 1995) (citation omitted); United

States v. Williams, 737 F.2d 594, 602 (7th Cir. 1984). In Franks, the court

explained that

      When the Fourth Amendment demands a factual showing
      sufficient to comprise “probable cause,” the obvious assumption is
      that there will be a truthful showing. This does not mean “truthful”
      in the sense that every fact recited in the warrant is necessarily
      correct, for probable cause may be founded on hearsay and upon
      information that is received from informants, as well as on
      information within the affiant’s own knowledge that must be
      garnered hastily. But surely it is to the “truthful” in the sense that
      the information put forth is believed or appropriately accepted by
      the affiant as true.

Franks, 438 U.S. at 164-65 (citations omitted, punctuation altered).

      However, “failure to investigate fully is not evidence of an affiant’s

reckless disregard for the truth.” United States v. Miller, 753 F.2d 1475, 1478

(9th Cir. 1985); United States v. Mastroianni, 749 F.2d 900, 909-10 (1st Cir.

1984); United States v. Young Buffalo, 591 F.2d 506, 510 (9th Cir.) (1979).

Probable cause “does not require an officer to exhaust every possible lead,

interview all potential witnesses, and accumulate overwhelming corroborative

evidence.” United States v. Dale, 991 F.2d 819, 844 (D.C. Cir. 1993). The

mere fact of an omission, standing alone, is insufficient to demonstrate intent

or reckless disregard. United States v. Shorter, 328 F.3d 167, 171 (4th Cir.
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2003) (affirming the district court’s denial of relief after a Franks hearing where

defendant failed to present any evidence, beyond the mere fact of omission,

that the investigator’s conduct was deliberate or reckless) (quoting United

States v. Colkley, 899 F.2d 297, 301 (4th Cir. 1990)).

      The court concludes that with only one exception, Mr. Titus and

Mr. Tipton have failed to demonstrate Det. Arnold acted intentionally or

recklessly as to the alleged falsehoods or omissions from his search warrant

affidavit. In reaching this conclusion, the court has carefully considered each

of the falsehoods and omissions alleged by Mr. Titus and Mr. Tipton.

                   1.    Det. Arnold’s Omission of the Distinction Between
                         the DWU Flasher and the DWU Suspicious Person
                         for Purposes of the Description of the DWU Suspect
                         Was Not Intentionally Misleading or in Reckless
                         Disregard For the Truth.

      Though they have painstakingly separated them, at the heart of the

majority of Mr. Titus and Mr. Tipton’s Franks claims is their contention that

Det. Arnold indiscriminately intermingled within his affidavit elements of the

description of the DWU flasher and suspicious person, without specifically

explaining to the magistrate judge that it was never determined whether the

flasher and suspicious person was one in the same. During the course of the

evidentiary hearing, however, it became clear to this magistrate judge that the

omission of this detail was not intentional or in reckless disregard for the truth.

      DWU is a very small, private college campus with only 378 male

students. It’s the kind of place where people notice someone who, in the words

of the DWU president, “doesn’t belong.” On the same morning of the flasher


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incident, another man unfamiliar to campus with at least basic similarities to

the flasher (white male, short brown hair) had been seen on campus covering

his face with a black bandana. In a large city, perhaps nobody would think it

odd to see a white male non-student with short brown hair passing through the

library on a college campus. Likewise nobody would probably think it odd to

see, on that same college campus, a white male non-student with short brown

hair running around with a black bandana covering his face. But in Mitchell,

South Dakota, on the campus of a small, religious college, these two events

were considered odd enough that when they happened on the same morning,

people on campus obviously immediately connected them. Thus, in the course

of the flasher investigation, the description of the suspicious person who had

been seen on campus earlier in the morning was reported to Officer

Loudenburg, who disseminated it to the rest of the Mitchell Police

Department.10 The description of the flasher and the suspicious person was


10 The court notes that much of Mr. Tipton and Mr. Titus’s argument regarding
the exact description of the DWU flasher suspect depends upon the description
as it was relayed to Det. Arnold by other officers or investigators within the
Mitchell Police Department (i.e. whether the shirt was “dark” or “black” and
whether the pants were “dark” or “flannel” or “plaid” and whether the suspect’s
description included that he was six feet tall. It also depends largely upon
whether the description includes the black bandana, which was connected to
the “suspicious person” on the DWU campus –a person who may or may not
have been the same person as the flasher.
  The Franks opinion itself framed its holding as "where the defendant makes a
substantial preliminary showing that a false statement knowingly and
intentionally, or with reckless disregard for the truth, was included by the
affiant in the warrant affidavit, and if the allegedly false statement is necessary
to the finding of probable cause, the Fourth Amendment requires that a
hearing be held at the defendant's request." Franks, 438 U.S. at 155-56
(emphasis added). A Franks challenge requires the court to evaluate the
affiant's conduct and affidavit, not that of any other law enforcement officer
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immediately and naturally combined for all practical purposes—even though

nobody knew for sure if the flasher and the suspicious person was one person

or two. In his search warrant affidavit, Det. Arnold merely continued forward

with the combined description.

      This same combined description –even though they were not sure the

flasher and the suspicious person were one in the same--was the one that was

recounted by each member of the Mitchell Police Department who testified at

the evidentiary hearing when looking for the DWU flasher. Officer Loudenburg

explained it best when he explained he met with the DWU president. She told

Officer Loudenburg about the suspicious person who had been seen on

campus before the flasher incident. Officer Loudenburg obtained the

description of the suspicious person from the DWU president and obtained the

description of the flasher from the flasher victim. Because nobody knew if the

suspicious person and the flasher were the same person, Officer Loudenburg

unequivocally testified that he gave both descriptions to the other Mitchell

Police Department officers who were on campus looking for the flasher and

both were broadcast out over the police radio. See transcript at pp. 150-51.

Eventually, the flasher description evolved into a white male, six feet tall, with

flannel pants, a dark t-shirt, short brown hair, who might have a black

bandana. “Evaluating an affiant’s state of mind requires [the court] to view all

of the evidence.” United States v. Finley, 612 F.3d 998, 1003, n. 7 (8th Cir.

2010). Given all of the evidence in this case, this court cannot find that Det.

involved in the investigation. See also United States v. Conant, 799 F.3d 1195,
1201 (8th Cir. 2015).
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Arnold’s inclusion of the suspicious person’s characteristics in the description

of the DWU flasher within the search warrant affidavit was done with the intent

to mislead or with a reckless disregard for the truth.

        Det. Arnold’s failure to explain to the magistrate judge that there had

been two incidents on campus and that nobody could be sure if both incidents

involved the same person was probably negligent. But given the fact that the

entire police department was on the lookout for a person bearing the

characteristics of both the flasher and the suspicious person, it is clear to this

magistrate judge that Det. Arnold did not know with certainty that the flasher

and the suspicious person were not the same person. It is also clear to this

magistrate judge that Det. Arnold did not “in fact entertain serious doubts as to

the truth of the affidavit or ha[ve] obvious reasons to doubt the accuracy of the

information therein.” Clapp, 46 F.3d at 801.

      Finally, this court cannot quite understand the profound emphasis on

whether the clothing Mr. Tipton was wearing when the Mitchell Police

Department Detectives arrived at the Siesta motel matched the description of

the clothing worn by the DWU flasher, as it pertains to the statements in

Det. Arnold’s search warrant affidavit. The flashing incident occurred at

approximately 10:40 a.m. The Mitchell Police Department detectives did not

arrive at the Siesta motel seconds or even minutes later. They arrived at the

Siesta nearly two hours later—at 12:28 p.m. This lag provided plenty of time

for any sensible flasher to have changed outfits. So it does not really matter

whether, by the time officers arrived at the Siesta Motel, the clothing Mr. Tipton


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was wearing matched the description of the clothing worn by the DWU flasher.

Though the affidavit describes the similarity between the clothing worn by

Mr. Tipton and the flasher, it also acknowledges Mr. Tipton was wearing jeans,

not flannel pants.

      The affidavit requests permission to search the motel room and the

vehicles in addition to Mr. Tipton’s person for clothing matching the description

of the clothing worn by the flasher. Common sense dictates that if Det. Arnold

was sure Mr. Tipton was wearing the clothes or the bandana, Det. Arnold

would not need to also search his motel room or the vehicles for those items.

The magistrate judge reading the affidavit probably reached the same

conclusion. “After all, we expect . . . judicial officers to be only neutral and

detached—not naïve and ingenuous.” Reivich, 793 F.2d at 963.

                     2.   Det. Arnold’s Failure to Acknowledge the Siesta
                          Motel Manager’s Indication He Did Not Think
                          Either Titus Or Tipton Matched The DWU Flasher’s
                          Description Was Not Intentionally Misleading Or In
                          Reckless Disregard For The Truth.

      During the evidentiary hearing, Mr. Titus and Mr. Tipton established that

the Siesta Motel manager told Det. Arnold during the detectives’ initial stop at

the Siesta that he (the manager) had not seen anyone matching the DWU

flasher’s description. On direct examination, Det. Arnold explained that on

their first stop at the Siesta, the manager told them he’d not seen anyone

matching the flasher’s description, but two men who were acting strange had

checked in earlier. One of them was James Tipton—the same name as the

subject of an active fraud case which Det. Arnold was investigating.


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On Det. Arnold’s cross-examination counsel elicited what description of the

flasher had been given to the manager, for purposes of determining the

manager’s statement that neither Titus nor Tipton matched. The following

exchange occurred:

Counsel:    And there really wasn’t any other description of that individual
            other than that, was there?
Arnold:     I would have to look at it. Off the top of my head I couldn’t tell
            you. I think when I got the description it was—what we were
            looking for was a white male, approximately 6 feet tall, and in his
            mid to–mid twenties. Twenty, thirty.
Counsel:    A fairly generic description?
Arnold:     Short brown hair, Caucasian, black shirt with black bandana.
Counsel:    Okay, and flannel to plaid pants?
Arnold:     Flannel, plaid pants. Blue or purple in color.
Counsel:    So you go to see [the manager]. You give him a description. Plaid
            pants, black shirt, correct?    And he says, “I didn’t see anybody
            with that stuff on.”?11

Arnold:     Well, I told him Caucasian male, short brown—I described the
            male, described the situation, what we were looking for with the
            indecent exposure. And he said he hadn’t seen anybody that
            matched that description. But for some reason Rodney Titus and
            James Tipton, he decided to bring that up.

      Mr. Titus and Mr. Tipton assert Det. Arnold’s failure to acknowledge in

the affidavit that the Siesta Motel manager indicated he’d not seen anyone

matching the DWU flasher’s description when the detectives first stopped by

the Siesta office was intentionally misleading or done with a reckless disregard

for the truth, because it serves to “falsely strengthen the match” between Mr.

Tipton and the DWU suspect. This court disagrees.

      First, Det. Arnold acknowledged in his affidavit that Mr. Tipton was

wearing jeans, which was never part of the DWU suspect’s description. If, as

11Again, portions Detective Arnold’s report were produced to the court before
the hearing. See Docket 78-3, p. 2. In that report, Det. Arnold explained the
Siesta manager “had not seen anyone wearing the clothing I described.” Id.
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counsel’s cross-examination suggests, when searching for the DWU flasher the

police were (two hours later) still emphasizing the suspect’s attire rather than

his physical attributes, then it is not surprising the Siesta manager responded

in the negative when asked if he’d seen anyone matching the description.

      Second, Det. Arnold made very clear in his affidavit that the reason his

interest was piqued by the Siesta manager’s comments about the two men who

rented room 15 had little to do with the DWU flasher. It was that the manager

said they were acting “strange” or “suspicious” and primarily because the

manager told Det. Arnold one of them was named James Tipton—the very same

name associated with Det. Arnold’s active fraud case. The affidavit states

Det. Arnold told the manager he “need[ed] to speak to TIPTON reference my

fraud case.” That clearly was the primary reason the detectives returned to the

Siesta Motel to further investigate—not to see whether Mr. Tipton was the DWU

flasher. This court finds, therefore, that Det. Arnold’s omission of the fact that

the Siesta manager stated he’d not recently seen anyone matching the DWU

flasher’s description was not intentionally misleading or done in reckless

disregard for the truth.

                   3.      Det. Arnold’s Recitation Of Det. Larson’s
                           Statement Regarding Mr. Titus and Mr. Tipton
                           “Hiding Things” Was Not Intentionally Misleading
                           Or Made In Reckless Disregard for the Truth.

      Mr. Titus and Mr. Tipton criticize this part of the affidavit because they

assert it is inconsistent with what Det. Larson and Det. Fechner later wrote in

their reports (i.e. that Det. Larson said Mr. Tipton “carried” something to the

bathroom). But at the evidentiary hearing, Det. Larson confirmed that he told
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Det. Arnold “they’re hiding things,” as he (Larson) peeked through the window

of the motel room while Det. Arnold knocked on the door. Det. Arnold did not

have Det. Larson or Det. Fechner’s reports to review before he (Arnold) wrote

the affidavit. The affidavit instead was based on Det. Larson’s oral statements

at the scene earlier the same day.

      Mr. Tipton and Mr. Titus also criticize the affidavit for implying that both

men were involved in the “hiding” of the backpack, when in reality, only

Mr. Titus put the backpack in the bathroom as Det. Arnold was knocking on

the door. This criticism is unfounded. Det. Larson could see two men in the

room. He could see that one (later determined to be Mr. Tipton) was in the

front of the room, near the door, while the other (later determined to be Mr.

Titus) was near the back. The man in the front did not immediately answer the

door when Det. Arnold knocked, but instead waited for about 60 seconds while

the man in the back grabbed something and went into the bathroom. Common

sense indicates the two were working in concert. If these two men had been

found at opposite ends of a thirty-room mansion, their cooperation might not

have been obvious by a sixty-second delay in opening the door. Detective

Larson, however, watched through the window for sixty seconds as one man

stood a few feet from the door in a small motel room without answering it while

the other man grabbed something and headed to the bathroom. Sixty seconds

might not seem like a delay in the first scenario, but in this situation, it did. If

there were any doubt about whether Mr. Titus and Mr. Tipton were acting in

concert, it was erased when, upon realization of police presence, Mr. Titus did


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not emerge from the bathroom, and Mr. Tipton denied Mr. Titus was even

there. To tell a judge Mr. Titus and Mr. Tipton men were acting in concert was

certainly not intentionally misleading or a statement made in reckless

disregard of the truth.

                   4.     Det. Arnold’s Statement That Mr. Titus Laughingly
                          Agreed Mr. Tipton Matched The Flasher’s
                          Description Was Not Intentionally Misleading Or
                          Made In Reckless Disregard For The Truth.

      In his affidavit, about conversation with Mr. Titus and Mr. Tipton at the

Siesta Det. Arnold wrote “[w]hen we arrived outside I advised Titus and Tipton

of the two cases I was investigating and that Tipton matched the description of

the male that had been seen at University. Titus agreed that Tipton did match

the description or (sic) the male suspect in the above case and laughed.”

      Mr. Titus and Mr. Tipton assert this sentence was intentionally

misleading or made with reckless disregard for the truth because (1) Mr. Titus

had never seen the DWU suspect; and (2) Det. Arnold included this useless

opinion but did not include the opinion of Det. Fechner, who had viewed the

surveillance video, and who did not believe Tipton was the DWU flasher.

      This court agrees that whether Mr. Titus thought Mr. Tipton matched the

description of the DWU flasher was completely useless information. But

nothing in Det. Arnold’s affidavit suggested that Mr. Titus had seen the DWU

flasher, so the state magistrate judge surely took this sentence for what it was

worth--nothing. “After all, we expect . . . judicial officers to be only neutral and

detached—not naïve and ingenuous.” Reivich, 793 F.2d at 963. That

Det. Arnold included in his affidavit that Mr. Titus “laughed” as he agreed
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Mr. Tipton matched the description neutralized what little influence, if any, this

sentence may have had upon the judge.

      The court has already explained that Det. Arnold and Det. Fechner did

not discuss Det. Fechner’s thoughts on whether Det. Fechner thought, based

on his review of the surveillance video, Mr. Tipton was a match for the DWU

flasher until after the affidavit had been written. They had no in-depth

discussion about this subject until later because by the time Det. Fechner

returned to the Siesta with the photo on his cell phone, the State Trooper’s

drug dog had positively indicated, Det. Arnold had decided to transport

Mr. Titus and Mr. Tipton, and focus of the investigation at the Siesta had

shifted to a drug investigation. Both Det. Arnold and Det. Fechner indicated

they did not recall having a discussion about Det. Fechner’s disagreement with

Det. Arnold about Mr. Tipton’s (non)resemblance to the DWU flasher until after

Det. Arnold had drafted his affidavit. The timing of Det. Arnold and

Det. Fechner’s discussion about their disagreement regarding Mr. Tipton’s

(non)resemblance to the DWU flasher explains Det. Arnold’s failure to mention

Det. Fechner’s disagreement in the affidavit. That Det. Arnold mentioned

Mr. Titus’s laughing agreement that Mr. Titus matched the description is

curious, but not intentionally misleading or made with a reckless disregard for

the truth.




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                   5.    Det. Arnold’s Statements Regarding A Delay In
                         Answering The Motel Door, And The Two Men
                         “Hiding Things” As A Reason For Requesting The
                         Canine Sniff, Were Not Intentionally Misleading Or
                         Made With A Reckless Disregard For The Truth.

      Mr. Titus and Mr. Tipton take issue with the statement in Detective

Arnold’s affidavit which says Mr. Tipton “took so long” to come to the door and

indicating that both Mr. Tipton and Mr. Titus were seen “hiding” things (rather

than Mr. Titus only “carrying” something into the bathroom). For the reasons

already explained above in section “3,” this court does not find Det. Arnold’s

description of both men “hiding” things to be intentionally misleading or made

in reckless disregard for the truth. Additionally, and as also explained above in

section “3,” while 60 seconds may not seem like a delay in other

circumstances, Detectives Arnold, Larson and Fechner explained why they

considered it so in this circumstance.

      For the reasons already explained in section “3” above, therefore, this

court does not find Det. Arnold’s statements in the affidavit regarding both

Mr. Titus and Mr. Tipton to be “hiding things” or about the delay in answering

the door at the Siesta Motel to have been intentionally misleading or made with

reckless disregard for the truth.

                   6.    Detective Arnold’s Failure To Mention Detective
                         Fechner’s Disagreement, After Det. Fechner
                         Reviewed The Video Surveillance, About Whether
                         Mr. Tipton Was The DWU Suspect Was Not
                         Intentionally Misleading Or Made With A Reckless
                         Disregard For The Truth.

      Det. Arnold did not review the video of the DWU flasher before he drafted

his search warrant affidavit. Instead, he only viewed the grainy photo on
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Det. Fechner’s cell phone. He also did not have an in-depth discussion with

Det. Fechner about Fechner’s thoughts on the video. By the time Det. Fechner

returned to the Siesta, the drug dog had positively indicated, and what started

out as a fraud/flasher investigation had quite unexpectedly turned into a

narcotics investigation. Det. Arnold’s failure to probe Det. Fechner’s thoughts

about Whether Det. Fechner thought it was likely Mr. Tipton was the DWU

Flasher, and/or Det. Arnold’s failure to take time to track down the video once

he returned to the police station to write his affidavit so he could review the

video himself, in and of themselves were not intentional or reckless. Miller,

753 F.2d at 1478; Mastroianni, 749 F.2d at 909-10; Young Buffalo, 591 F.2d at

510. But probable cause “does not require an officer to exhaust every possible

lead, interview all potential witnesses, and accumulate overwhelming

corroborative evidence.” Dale, 991 F.2d at 844. Det. Arnold had been on scene

at DWU and had been listening to the dispatch reports, along with the other

officers who were investigating the incident. Perhaps, in retrospect, and given

the fact that Mr. Titus and Mr. Tipton were already in custody, Detective

Arnold could have contacted the DWU flasher victim to have her view a photo

lineup containing Mr. Tipton’s photo before submitting his warrant affidavit

asking to search for evidence of the DWU incident in the Siesta motel. He also

could have taken the time to review the video himself. This would have been a

bit more of investigative work that would have either identified Mr. Tipton as

the DWU flasher or definitively ruled him out. However, failure to do so was

not deliberate or reckless.


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                   7.    Detective Arnold’s Misstatement About Mr. Titus’s
                         and Mr. Tipton’s Criminal History Was Made With
                         Reckless Disregard For The Truth.

      In his search warrant affidavit, Det. Arnold stated Mr. Titus “stated that

he was on Federal probation for distribution of narcotics.” See EX. 1, p. 5.

Det. Arnold also stated “I had dispatch perform a criminal background check

on both Titus and Tipton. Both Titus and Tipton have multiple drug arrests

consisting of drug paraphernalia and distribution of methamphetamine on

their criminal background checks.” Id. p. 6.

      In reality, the “Triple I” background check revealed Mr. Titus was on

federal probation for being a prohibited person in possession of a firearm in

violation of 18 U.S.C. § 922(g) and had several state misdemeanor theft or

assault arrests, but only one drug arrest that was for keeping a place for the

sale or use of drugs—not for drug paraphernalia or distribution of

methamphetamine. See EX 3. Mr. Tipton’s “Triple I” background check

revealed he had two drug paraphernalia arrests, two arrests for drug

possession, and one for distribution of methamphetamine. See EX 4.

      Mr. Titus asserts Det. Arnold purposely misled the state magistrate judge

by relaying the statement Titus allegedly made at the Siesta regarding the

reason he (Titus) was on federal supervision. Mr. Titus surmises there would

be no reason to “lie to make his criminal history seem worse than it is.” This

court views the situation differently. It is not inconceivable, given that

Mr. Titus had just tried to hide a firearm in the bathroom and having been

“called” on trying to conceal his presence in the room by Det. Fechner,


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Mr. Titus would not readily admit he was on federal supervision for being a

prohibited person in possession of a firearm. It is entirely conceivable to this

court that in the panic of the moment Mr. Titus made up a different reason for

being on federal supervision. The court therefore does not find Det. Arnold’s

statement in the affidavit about Mr. Titus’ professed reason for his federal

supervision to have been made with the intent to mislead or in reckless

disregard for the truth.

      The result is different, however, for Det. Arnold’s statement that “[b]oth

Titus and Tipton have multiple drug arrests consisting of drug paraphernalia

and distribution of methamphetamine on their criminal background checks.”

By the time Det. Arnold wrote his affidavit, he had the Triple I reports for both

men in front of him. Both men clearly do not have multiple drug arrests:

Mr. Titus had only one, and the one Titus had was for neither distribution nor

drug paraphernalia, but rather it was for possession and keeping a place for

the use or sale of drugs. Det. Arnold’s statement is inaccurate as it pertains to

Mr. Titus. Mr. Tipton did have multiple arrests, one for distribution and two

for paraphernalia, so Det. Arnold’s statement was accurate as to Mr. Tipton.

Because Det. Arnold had the Triple I at his disposal before he wrote the

affidavit, and the sentence regarding “both” men’s criminal history is

inaccurate as to Mr. Titus, this court finds the statement was made with

reckless disregard for the truth.




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                   8.    Det. Arnold’s Omission Of The Facts About The
                         Length Of Time Mr. Titus And Mr. Tipton Had Been
                         At The Siesta, Their Explanation Of Their
                         Whereabouts, And The Items In The Vehicles, Was
                         Not Intentionally Misleading Or Done With
                         Reckless Disregard For The Truth.

      Mr. Titus and Mr. Tipton assert Det. Arnold intentionally or recklessly

omitted the facts that (1) Mr. Tipton and Mr. Titus had provided explanations

for their whereabouts earlier in the day; (2) the vehicles were full of household

items, consistent with their explanations that they had been moving Mr. Tipton

from one motel into another; and (3) they had been at the Siesta for a very

short amount of time. Mr. Titus and Mr. Tipton assert these omissions were

material, considering the scope of the warrant requested by Det. Arnold

included the motel room and Mr. Titus’s vehicle and person, rather than just

Tipton’s person and vehicle, when it was only Tipton, not Titus who was acting

as if he was under the influence of drugs.

      Again, the court disagrees with this analysis. The analysis assumes the

facts were material because had they been presented to the judge, there would

not have been probable cause to search the motel room, Titus’s person or

Titus’s vehicle. But that analysis is flawed because the suspicious behavior

observed by the officers when they arrived at the Siesta was exhibited by both

Mr. Titus and Mr. Tipton. The room was rented in Mr. Tipton’s name and only

Mr. Tipton was exhibiting signs of being under the influence of drugs. But as

explained above, it was Mr. Titus and Mr. Tipton acting in concert who were

observed “trying to hide things” in the motel bathroom. Regardless of the

explanation he provided for his presence at the motel room, how long he had
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been there, or how much had been moved in, that Mr. Titus ducked into the

bathroom and appeared to be attempting to conceal something there changed

Mr. Titus’s role from mere innocent bystander to fair game for purposes of the

target of the search warrant. See United States v. Schmitz, 181 F.3d 981, 987

(8th Cir. 1999) (officer’s omission of fact that victim lacked apparent injuries,

was in good spirits, and that she was wearing clean clothes when police arrived

not material to probable cause for warrant to search for evidence of earlier hit

and run incident by her boyfriend). In other words, that Mr. Titus and

Mr. Tipton provided explanations for their whereabouts earlier in the day, the

short amount of time they had been at the Siesta, and the items visible in the

vehicles are not necessarily inconsistent with either (1) Mr. Tipton being the

DWU flasher or (2) illegal drug activity on the parts of either or both men.

Therefore, those details were not material to whether probable cause existed to

search the motel room and/or Mr. Titus’s person and vehicle. This court finds

these details were not, therefore, omitted with intent to mislead or with a

reckless disregard for the truth.

            b.     Correcting the Falsehoods/Adding the Omissions Does
                   Not Defeat Probable Cause

      If one assumed Mr. Titus and Mr. Tipton showed an intent to mislead or

reckless disregard for the truth in the statements or omissions by Officer

Arnold, the court would then proceed to the next step by excising the false and

misleading statements and adding in the omitted information and evaluating

whether the affidavit still demonstrates probable cause. “When the affidavit

supporting the search warrant sets forth facts sufficient to create a fair
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probability that evidence of a crime will be found in the place to be searched,

probable cause exists.” United States v. McIntyre, 646 F.3d 1107, 1115 (8th

Cir. 2011) (quoting Unites States v. McArthur, 573 F.3d 608, 613 (8th Cir.

2009) (quoting United States v. Terry, 305 F.3d 818, 822 (8th Cir. 2002))). See

also Illinois v. Gates, 462 U.S. 213, 238 (1983). "Probable cause requires only

a showing of fair probability, not hard certainties." United States v. Hudspeth,

525 F.3d 667, 676 (8th Cir. 2008). Whether a search warrant is supported by

probable cause is to be determined by considering the totality of the

circumstances. United States v. Grant, 490 F.3d 627, 632 (8th Cir. 2007). The

issuing judge's determination of the issue of probable cause should be paid

"great deference.” United States v. O’Dell, 766 F.3d 870, 873 (8th Cir. 2014).

      Reviewing courts examine the sufficiency of an affidavit in support of a

search warrant using "common sense" and not using a "hypertechnical"

approach. Grant, 490 F.3d at 632 (citing United States v. Solomon, 432 F.3d

824, 827 (8th Cir. 2005) (quoting United States v. Williams, 10 F.3d 590, 593

(8th Cir. 1993))). "Where the [issuing judge] relied solely upon the supporting

affidavit to issue the search warrant, only that information which is found

within the four corners of the affidavit may be considered in determining the

existence of probable cause”—except here, of course, the court "adds in" the

correct statements and proposed omissions. O’Dell, 766 F.3d at 874. See also

Hudspeth, 525 F.3d at 674; United States v. Olvey, 437 F.3d 804, 807 (8th Cir.

2006); United States v. Cowling, 648 F.3d 690, 695 (8th Cir. 2011).




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      A defendant seeking to suppress evidence obtained under a regularly

issued search warrant has the burden to show by a preponderance of the

evidence that the search warrant was not supported by probable cause. United

States v. Chaar, 137 F.3d 359, 363 (6th Cir. 1998); United States v. De La

Fuente, 548 F.2d 528, 534 (5th Cir) (1977). Cf. Carter v. United States, 729

F.2d 935, 940 (8th Cir. 1984) (generally, burden is on the defendant who

moves to suppress evidence except where the search was without benefit of a

search warrant).

      Here, the only statement this court has found was made with reckless

disregard for the truth is the recitation of the two men’s criminal history. But

even if Det. Arnold had recited their criminal history with razor-sharp

precision, probable cause would still have existed to issue the warrant.

Furthermore, if the proposed omissions were contained in Det. Arnold’s search

warrant affidavit, there would still be probable cause. Specifically, had

Det. Arnold spelled out with perfect clarity that nobody knew for sure whether

the DWU flasher and the DWU suspicious person were one in the same, but

that nevertheless the police were looking for a white male, six feet tall, with a

black/dark shirt, flannel pants, and possibly in possession of a black bandana,

this would not have changed the probable cause determination in this case.

Neither would the addition of the fact that Det. Fechner disagreed with

Det. Arnold about whether Mr. Tipton matched the description of the DWU

Flasher. Mr. Tipton and Mr. Titus’s behavior once the police arrived at the

motel room, along with the positive dog sniff, gave enough probable cause to


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search even in the absence of any of the DWU evidence. These facts give rise to

a "fair probability" room 15 at the Siesta Motel would contain evidence of a

crime. Hudspeth, 525 F.3d at 676. Detective Arnold was not required to place

before the judge "all" the facts known to him; just sufficient facts to

demonstrate a "fair probability." Dale, 991 F.2d at 844. A "fair probability" is

all the law requires. The court concludes that even if Det. Arnold's misleading

statements and omissions could be viewed as reckless—which standard this

court does not view as having been met (with the exception of the criminal

record issue)--the correction of the statements to meet Mr. Titus and

Mr. Tipton’s satisfaction and the addition of those omissions to the search

warrant affidavit does not defeat probable cause. Accordingly, the court

recommends denying Mr. Titus and Mr. Tipton's motion to suppress based on

his Franks argument as to the search warrant.

B.    Leon Good Faith

      Even if an affidavit in support of a search warrant fails to provide

probable cause for the issuance of the search warrant, the fruits of the search

will not be suppressed if the officer who executed the search warrant relied

upon that warrant in objective good faith. United States v. Ross, 487 F.3d

1120, 1122-1123 (8th Cir. 2007) (describing good-faith exception pursuant to

United States v. Leon, 468 U.S. 897, 921, (1984)). "When assessing the good

faith of the officers, [the court] look[s] to the totality of the circumstances,

including any information known to the officers, but not included in the

affidavit." United States v. Rodriguez, 484 F.3d 1006, 1011 (8th Cir. 2007).


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The question is whether a reasonably well-trained officer would have known

that the search was illegal despite the issuing judge's authorization. Hudspeth,

525 F.3d at 676.

      The Leon good-faith exception does not apply in four circumstances:

(1) where the affidavit in support of the search warrant is "so lacking in indicia

of probable cause as to render official belief in its existence entirely

unreasonable," (2) when "the issuing magistrate wholly abandoned his judicial

role," (3) when the warrant is "so facially deficient . . . that the executing

officers cannot reasonably presume it to be valid," and (4) when the issuing

magistrate was misled by false information in an affidavit that the affiant

knowingly or recklessly included. Leon, 468 U.S. at 923 (citations omitted);

United States v. Pruett, 501 F.3d 976, 980 (8th Cir. 2007), vacated and

remanded on other grounds, 552 U.S. 1241 (2008);12 Ross, 487 F.3d at 1122.

      The Eighth Circuit found the first exception applicable in United States v.

Herron, 215 F.3d 812, 814-15 (8th Cir. 2000). In that case, law enforcement

had drafted an affidavit focused on providing probable cause to search Buck’s

residence and farm for evidence of cultivation of marijuana. Id. at 813-14.

Then, without altering the affidavit, they submitted the same facts in support

of a request for a search warrant for Herron’s residence and farm. Id. The only

facts alleged in the affidavit regarding Herron was that he had past convictions

for cultivating marijuana, he was Buck’s relative, and Buck had been observed


12The Supreme Court vacated the holding in Pruett as to what constitutes
"use" of a firearm during a drug trafficking crime.

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at Herron’s residence four months earlier, on which occasion he stated he was

there to help Herron harvest corn. Id. The government conceded on appeal

that the search warrant for Herron’s farm lacked probable cause, but urged the

application of the Leon good faith exception. Id. at 814. The Eighth Circuit

refused to apply Leon, noting that the deficiencies in the Herron affidavit were

not technical legal deficiencies, but rather a complete absence of facts

probative of finding marijuana at Herron’s place. Id. at 814-15.

      Mr. Tipton and Mr. Titus do not invoke the second situation above. The

third situation described above refers to alleged infirmities “with the warrant

itself rather than the affidavit behind the warrant.” United States v. Carpenter,

341 F.3d 666, 673 (8th Cir. 2003). This exception would apply, for example,

where the search warrant “failed to particularize the place to be searched or the

things to be seized.” Id. Under these circumstances, the officers executing the

warrant “cannot reasonably presume it to be valid.” Id. (quoting Leon, 468

U.S. at 923). Mr. Tipton and Mr. Titus do not invoke this third situation either.

      The fourth situation is a Franks situation. Mr. Tipton and Mr. Titus

could assert this situation as to the warrant at issue in this case if probable

cause no longer remained, rendering the warrant invalid, after the offending

statements were removed and omissions were added. Where Franks applies,

Leon does not apply. United States v. Conant, 799 F.3d 1195, 1202 (8th Cir.

2015). The court agrees with this proposition—as far as it goes. However, that

proposition does not require suppression here. The court has concluded no

Franks violation occurred, with the exception of the criminal histories. But


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correction of the criminal histories statement has no effect on probable cause

to issue the warrant. Therefore, Franks does not automatically obviate the

application of Leon here.

                                  CONCLUSION

      Based on the foregoing facts, law, and analysis, this magistrate judge

respectfully recommends denying Mr. Titus and Mr. Tipton’s motions to

suppress [Docket Nos. 74 and 76] in their entirety.

                              NOTICE TO PARTIES

      The parties have fourteen (14) days after service of this Report and

Recommendation to file written objections pursuant to 28 U.S.C. § 636(b)(1),

unless an extension of time for good cause is obtained. Failure to file timely

objections will result in the waiver of the right to appeal questions of fact.

Objections must be timely and specific in order to require de novo review by the

District Court. Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990); Nash v. Black,

781 F.2d 665 (8th Cir. 1986).


      DATED this 8th day of May, 2017.
                                       BY THE COURT:


                                       VERONICA L. DUFFY
                                       United States Magistrate Judge




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